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                                            LAW OFFICES
                                                   OF

                               ROCCO C. CIPPARONE, JR.

 ROCCO C. CIPPARONE, JR.❑†
                                                     ❑
                                                              CERTIFIED BY THE SUPREME COURT OF NEW JERSEY
                                                              AS A CRIMINAL TRIAL ATTORNEY

                                                     
                                                             ADMITTED TO PRACTICE IN NJ, PA
                                                             & FEDERAL COURTS IN NJ, PA & MICH.

                                                     †       FELLOW, AMERICAN COLLEGE OF TRIAL LAWYERS


                                                September 5, 2023

Honorable Beryl A. Howell
333 Constitution Avenue N.W.
Washington D.C. 20001

By ECF

                        RE:     USA v. Patrick Stedman
                                Docket No. 21-383-001 (BAH)
                                Defendant Stedman’s Supplement Sentencing Memorandum

Dear Judge Howell:

        Please accept this letter submission as a supplemental sentencing memorandum regarding

Mr. Stedman’s eligibility for a two-level reduction to the offense level determined under

Chapters Two and Three of the guidelines, pursuant to the adopted amendment (effective

November 1, 2023, and recently voted to be retroactive) to U.S.S.G. §4C1.1(a). Mr. Stedman

satisfies all criteria for the application of the two-level reduction. The criterial are:

(1) the defendant did not receive any criminal history points from Chapter Four, Part A
        Mr. Stedman has no prior criminal history, and therefore received no criminal history

points. PSR ¶ 46.




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(2) the defendant did not receive an adjustment under §3A1.4 (Terrorism)
       Mr. Stedman did not receive an adjustment under §3A1.4 (Terrorism). PSR ¶¶ 34-43.1
(3) the defendant did not use violence or credible threats of violence in connection with the
offense
       Mr. Stedman did not use violence or credible threats of violence. As delineated in the

Defendant’s Sentencing Memorandum Docket Entry 81 at 5-8, Mr. Stedman did not use or

encourage the use by others of any weapon or object to harm others. Mr. Stedman did not

personally cause any property damage. Mr. Stedman wore no protective gear and importantly

possessed no weapons, pepper spray, restraints, or other dangerous objects or make-shift

dangerous objects. Mr. Stedman did not push, shove or have inappropriate physical contact with

anyone -- including any law enforcement -- within or about the Capitol Building or grounds on

January 6, 2021. Also, Mr. Stedman attempted to and did dissuade another individual from

continuing to harass a Capitol Police Officer in a hallway, as he testified at trial and as is

corroborated by the video surveillance. GT Exh. 315.

       Although Mr. Stedman at one brief point yelled “break it down” behind a crowd near the

House Chambers doors, any property damage had already been done by the time Mr. Stedman

did so. The government acknowledged that such was the situation regarding the Chamber doors:

“Stedman yelled ‘Let us in!’ and ‘Break it down!’ outside the main door to the House Chamber,




1
 Mr. Stedman has objected in his original sentencing memorandum (Docket Entry 81) to other
aspects of the Final PSR sentencing guideline calculations in those paragraphs.



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as other rioters banged on the door, the window of which had already been broken.” GT

Sentencing Memorandum (“SM”) at 2 (bold added).

       Additionally, when Mr. Stedman yelled “you’re going to shoot your own people, you

fucking scum!” and “you killed one of us? You’re done!”, those statements were not a reference

to or threats of physical harm. As Mr. Stedman testified, he intended those as a reference to job

loss and prosecution for the behavior regarding the shooting of the person now known to be

Ashli Babbitt. Those words are not threats of physical violence either in their plain language or

in Mr. Stedman’s intent.

(4) the offense did not result in death or serious bodily injury
       Mr. Stedman’s conduct did not result in death or serious bodily injury. See #3 above also.
(5) the instant offense of conviction is not a sex offense
       Mr. Stedman’s offense of course was not a sex offense.
(6) the defendant did not personally cause substantial financial hardship
       Mr. Stedman did not personally cause substantial financial hardship. Mr. Stedman has

accepted that his share of restitution is $2,000 (PSR ¶ 121), but his conduct did not involve him

personally causing physical damage (he entered through the open door of the Capitol Building

well after any damage had been done and he did not counsel it. See Defense Sentencing

Memorandum Docket Entry 81 at 6). See also # 3 above.




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(7) the defendant did not possess, receive, purchase, transport, transfer, sell, or otherwise
dispose of a firearm or other dangerous weapon (or induce another participant to do so) in
connection with the offense
       Mr. Stedman did not possess, receive, purchase, transport, transfer, sell, or otherwise

dispose of a firearm or other dangerous weapon (or induce another participant to do so) in

connection with the offense. See also #3 above.

       (8) the instant offense of conviction is not covered by §2H1.1 (Offenses Involving
Individual Rights)
       Mr. Stedman’s offense of conviction is not covered by §2H1.1
(9) the defendant did not receive an adjustment under §3A1.1 (Hate Crime Motivation or
Vulnerable Victim) or §3A1.5 (Serious Human Rights Offense)
       Mr. Stedman did not receive an adjustment under §3A1.1 or §3A1.5.
(10) the defendant did not receive an adjustment under §3B1.1 (Aggravating Role) and was
not engaged in a continuing criminal enterprise, as defined in 21 U.S.C. § 848
       Mr. Stedman did not receive an adjustment under §3B1.1 (Aggravating Role) and was

not engaged in a continuing criminal enterprise as defined in 21 U.S.C. § 848.

                                        CONCLUSION
       Considering the foregoing, and the retroactivity of the amendment, the Court (by means

of a variance or otherwise) should further reduce the sentencing guideline range determined

applicable to Mr. Stedman by an additional two (2) offense levels.

                                             Respectfully submitted,
                                             LAW OFFICES OF ROCCO C. CIPPARONE, JR.

                                     BY:     ____________________________________
                                             ROCCO C. CIPPARONE, JR., ESQUIRE



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